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                    IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MINNESOTA
                                         STATUS CONFERENCE

UNITED STATES OF AMERICA,                                    CONFERENCE MINUTES
                                                                 BEFORE: Tony N. Leung
                          Plaintiff,                              U.S. Magistrate Judge
v.
                                                    Case No:            22-cr-00162 (DSD/TNL)
Joshua Gunnar Olson,                                Date:               March 21, 2024
                                                    Court Reporter:     N/A
                          Defendant.                Courthouse:         Minneapolis
                                                    Courtroom:          Video Conference
                                                    Time Commenced: 1:34 p.m.
                                                    Time Concluded:     1:41 p.m.
                                                    Sealed Time:        N/A
                                                    Time in Conference: 7 Minutes

APPEARANCES:
     Plaintiff: Emily Polachek, Assistant U.S. Attorney
     For Defendant Joshua Gunnar Olson: Glenn P. Bruder, CJA Appointment

Additional Information:

Status Conference was held. Next Status Conference scheduled for May 22, 2024 at 4:00 p.m.


                                                                                          s/ Emily
                                                                             Signature of Law Clerk
